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   B              H       T



          Defendant(s)




                         January 6, 2021


Code Section                                       Offense Description

18 U.S.C. 1752(a)(1), (2)- Knowingly Entering or Remaining in any Restricted Building or
Grounds Without Lawful Authority;
40 U.S.C. 5104(e)(2)(C)(i), (D) & (G)- Violent Entry and Disorderly Conduct on Capitol
Grounds




                                                                 Complainant’s signature

                                                            Brian Hock , Special Agent
                                                                  Printed name and title



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   02/02/2021
                                                                               19:37:42 -05'00'
                                                                    Judge’s signature

                                                                  , U.S. Magistrate Judge
                                                                  Printed name and title
